
NichoIiSON, C. J.,
delivered the opinion of the Court.
This case is here by writ- of error, for the purpose •of reversing a judgment of condemnation of land rendered in the Circuit Court of Greene county, at the June Term, 1871. The cause commenced by attachment before a justice of the peace, in favor of Lanson ’White against J. H. Eumbough, as a non-resident of the State. The attachment was levied on five thousand acres of land and returned before the justice of the peace on the 9th of October, 1869. Judgment was rendered for $123.76, on the 18th of December, 1869. The papers were returned to the Greene county Circuit Court, and judgment of condemnation entered, as already stated. This judgment is erroneous for several reasons:
1. The justice of the peace failed to stay the judgment for six months after the return of the process. Porter v. Partee, 7 Hum., 168.
2. The attachment issued upon an affidavit, which failed to state that the debt sued for was just, or to state the nature and character of the claim. Sullivan v. Fugate, 1 Heis., 20.
2. The justice of the peace failed to make publication for the non-resident, as required by section 3521 of the Code.
For these reasons, the judgment of the Circuit Court is reversed, and the attachmeut discharged and' dismissed.
